March 31, 2023

Via Email (CronanNYSDChambers@nysd.uscourts.gov)

The Honorable John P. Cronan
United States District Court Judge
Southern District of New York 500
Pearl Street, Room 1320
New York, NY 10007

Re:         Diocese of Rockville Centre v London Market Insurers, No. 21-cv-00071 (JPC)

Dear Judge Cronan:

This joint status letter is submitted by plaintiff The Roman Catholic Diocese of Rockville Centre
("Diocese") and defendants Certain Underwriters at Lloyd's, London and Certain London Market
Companies ("LMI") pursuant to the Court's March 1, 2023 Minute Entry.

Since the last status letter dated February 28, 2023, LMI have filed their Answer and Affirmative
Defenses to the Diocese’s First Amended Complaint. Also, on March 2, 2023, the Diocese made
an additional production of documents relating to its Independent Reconciliation and
Compensation Program. LMI are in the process of reviewing those documents.

On October 27, 2021, the parties entered into a Civil Case Management Plan and Scheduling
Order [Doc. 70]. The deadlines in the Scheduling Order are contingent on the conclusion of
mediation. The mediation proceedings in the Bankruptcy Court have not concluded. On March 8,
2023, the Diocese and Committee held a mediation session. Insurance Companies were not invited
to participate in that particular session, but it is anticipated that LMI will participate in future
mediation sessions. While LMI are interested in participating in further mediation efforts, they
continue to reserve their rights to seek court intervention in the event a dispute arises with respect
to the production of information that is necessary for mediation or other purposes.

On March 27, 2023, the Diocese and the Committee informed the Bankruptcy Court1 that the
parties agreed to the appointment of Magistrate Judge Sarah L. Cave to serve as a co-mediator.
At a hearing in the Bankruptcy Court on March 28, 2023, Chief Judge Martin Glenn
acknowledged the agreement, but no official appointment was made at that time.

Informed by the above developments, LMI and the Diocese have continued their discussions about
whether the involvement of a Magistrate Judge in settlement discussions could be beneficial. The
parties are further considering whether the involvement of a Magistrate Judge appointed by the
Bankruptcy Court could serve this role or whether a separate appointment may be necessary.

The parties jointly request that they be permitted to report back to the Court by April 28, 2023.

Very truly yours,

/s/John B. Berringer
John B. Berringer

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    In re: The Roman Catholic Diocese of Rockville Centre, New York, Case No. 20-12345, at Doc. 1916.
  Reed Smith LLP

  /s/ Catalina Sugayan
  Catalina Sugayan
  Clyde & Co US LLP

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The request is granted. The parties shall file a status update by April 28, 2023.




SO ORDERED.                                     __________________________
Date: April 3, 2023                                  JOHN P. CRONAN
New York, New York                                United States District Judge
